          Case 2:22-cv-01031-JMY Document 11 Filed 05/27/22 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                            :
IN THE MATTER OF:                           :       No. 22-cv-1031-JMY
      KENNETH J. TAGGART                    :
                                            :
                                            :

                                            ORDER

        AND NOW, on this 27th day of May 2022, having considered Appellee AJX Mortgage

Trust I, a Delaware Trust, Wilmington Savings Fund Society, FSB, Trustee (“AJX”) Motion for

an Extension of its Briefing Deadline, and any response thereto, it is hereby ORDERED, that

AJX’s Motion is GRANTED, and it is further

        ORDERED that AXJ’s Deadline to submit its Appellee Brief in this matter is hereby

stayed pending the Court’s consideration of AJX’s Cross-Motion to Dismiss the Appeal as Moot;

and it is further

        ORDERED that, to the extent the Court determines any of the issues raised in this

Appeal may proceed, AXJ shall file its Brief within 30 days of the Court’s entry of an Order on

AJX’s Cross-Motion to Dismiss the Appeal, filed on May 19, 2022.

        IT IS SO ORDERED.



                                            BY THE COURT:

                                               /s/ John Milton Younge
                                            Judge John Milton Younge
